      Case 16-22501-VFP             Doc 10-1         Filed 09/13/16 Entered 09/13/16 17:41:40    Desc
                                                   Invoice Page 1 of 3

Scura, Wigfield, Heyer & Stevens, LLP
1599 Hamburg Tpk
Wayne, NJ 07470
973-696-8391
973-696-8571



   Invoice submitted to:

       Tricia Trovarelli
       238 Palisades Ave, Apt. 7
       Cliffside Park, NJ 07010



September 06, 2016
In Reference To:Chapter 13
Case # C13-00755
Invoice # 40064

            Professional Services

                                                                                          Hrs/Rate      Amount

  9/30/2015 RS       Paralegal- open file                                                    0.30        45.00
                                                                                           150.00/hr

  10/1/2015 RS       Paralegal- draft petition                                               1.20       180.00
                                                                                           150.00/hr

  10/5/2015 JBE      Paralegal- Telephone call with client.                                  0.20        30.00
                                                                                           150.00/hr

            JBE      Paralegal- Converted petition. Drafted plan and plan calculations.      2.00       300.00
                     Telephone calls with client.                                          150.00/hr

 10/28/2015 DLS      Call with client concerning plan and non-exempt equity. Call with       0.30       112.50
                     mortgage broker about financing.                                      375.00/hr

 11/17/2015 JBE      Paralegal- Recalculated plan. Voicemail to client.                      0.20        30.00
                                                                                           150.00/hr

 11/18/2015 JBE      Paralegal- Telephone call with client.                                  0.20        30.00
                                                                                           150.00/hr

  1/25/2016 JBE      Telephone call with client re. questions concerning case.               1.50       225.00
                     Re-calculated plan payments re. change is stock values. Telephone     150.00/hr
                     call to client re. plan payout needed.

  3/21/2016 JBE      Telephone call with client.                                             0.10        15.00
                                                                                           150.00/hr
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                                                                                                Hrs/Rate         Amount

    4/7/2016 JBE     Telephone call with client.                                                   0.20             30.00
                                                                                                 150.00/hr

  4/15/2016 JBE      Telephone call with client.                                                   0.10             15.00
                                                                                                 150.00/hr

  4/25/2016 TA       Paralegal- Set up Chapter 13 file.                                            0.40             60.00
                                                                                                 150.00/hr

  6/20/2016 JBE      Revised plan calculations using current values of both stock accounts,        0.40             60.00
                     call to client.                                                             150.00/hr

  6/21/2016 JBE      Telephone call with client. Revised petition.                                 0.60             90.00
                                                                                                 150.00/hr

  6/23/2016 JBE      Petition and plan revisions.                                                  0.60             90.00
                                                                                                 150.00/hr

  6/28/2016 JBE      Additional petition revisions, filed case and plan.                           0.50             75.00
                                                                                                 150.00/hr

    7/5/2016 JBE     Telephone call with client.                                                   0.20             30.00
                                                                                                 150.00/hr

    7/7/2016 JBE     341 ltr to client.                                                            0.50             75.00
                                                                                                 150.00/hr

  7/14/2016 JBE      Prepared docs for Trustee for 341, uploaded same.                             0.30             45.00
                                                                                                 150.00/hr

    8/8/2016 CB      Plan and prepare for 341 meeting, scheduled for tomorrow. Reviewed            0.50           187.50
                     pleadings, PACER, NDC website. Called client to discuss case.               375.00/hr
                     Discussed 100% s. loans outside plan with JES

    8/9/2016 CB      Drive to and from Newark for 341 hearing (time split with other clients)      0.40             60.00
                                                                                                 150.00/hr

               CB    Appearance at 341 hearing, wait time, and conversations with client           0.40           150.00
                     regarding case                                                              375.00/hr

               For professional services rendered                                                 11.10       $1,935.00

               Additional Charges :

    1/5/2016 Credit InfoNet Search                                                                                  23.00

  7/12/2016 Lawyer Service Delivery                                                                               310.00

               Total costs                                                                                       $333.00
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                                                                                                        Amount


               Total amount of this bill                                                              $2,268.00

 9/29/2015 Payment - Thank You                                                                      ($600.00)
11/19/2015 Payment - Thank You                                                                    ($1,275.00)

               Total payments and adjustments                                                     ($1,875.00)


               Balance due                                                                             $393.00



                                                 Timekeeper Summary
Name                                                                                          Hours       Rate
DLS - David L. Stevens, Esq.                                                                   0.30     375.00
CB - Christopher Balala, Esq.                                                                  0.90     375.00
CB - Christopher Balala, Esq.                                                                  0.40     150.00
JBE - John B Esposito - Paralegal                                                              7.60     150.00
RS - Ray Sanchez - Paralegal                                                                   1.50     150.00
TA - Tami Arce - Paralegal                                                                     0.40     150.00
